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4                            IN THE UNITED STATES DISTRICT COURT
5                          FOR THE EASTERN DISTRICT OF CALIFORNIA
6

7    UNITED STATES OF AMERICA,                         Case No.: 1:13-CR-00085-006 LJO
8                          Plaintiff,                  ORDER FOR TRANSPORT TO
                                                       DELANCEY STREET FOUNDATION
9          v.
10   JESUS FELIX                                       HONORABLE LAWRENCE J. O’NEILL
11                         Defendant.
12

13          IT IS HEREBY ORDERED that defendant, JESUS FELIX, shall be released to Evie
14
     Machado, MS from Fresno County Jail on Saturday, August 19, 2017 at 7:00a.m. Evie Machado
15
     will then transport Jesus Felix to the Delancey Street Foundation program located in Los
16
     Angeles, California for an intake interview. If immediately accept, Jesus Felix will stay at
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     Delancey Street and abide by all rules of the program. If not immediately accepted, Ms. Evie
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19   Machado will return Jesus Felix to the Fresno County Jail where he was transported no later than

20   9:00pm on August 19, 2017.
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     IT IS SO ORDERED.
23
        Dated:     August 14, 2017                         /s/ Lawrence J. O’Neill _____
24                                                UNITED STATES CHIEF DISTRICT JUDGE
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